
Upon consideration of the petition filed on the 27th of July 2016 by Petitioner in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 8th of December 2016."
The following order has been entered on the motion filed on the 4th of August 2016 by Petitioner to Deem Petition for Discretionary Review Timely Filed:
"Motion Denied by order of the Court in conference, this the 8th of December 2016."
Upon consideration of the petition filed by Petitioner on the 4th of August 2016 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 8th of December 2016."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
